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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - X
                                      :
UNITED STATES OF AMERICA
                                      :        INFORMATION
        - v. -
                                      :                471 (___)
                                               21 Cr. ____  PKC
ANTHONY STIMLER,
                                      :
                   Defendant.
                                      :

- - - - - - - - - - - - - - - - - - - X


                            COUNT ONE
    (Conspiracy to Violate the Foreign Corrupt Practices Act)

     The United States Attorney charges:

                               Overview

     1.   Between at least in or about 2007 and in or about 2018,

ANTHONY STIMLER, the defendant, and others known and unknown,

agreed to pay, and in fact paid, millions of U.S. dollars in bribes

through intermediaries to foreign officials in multiple countries,

including Nigeria, on behalf of a commodity trading and mining

company with global operations (“Company 1”), in violation of the

Foreign Corrupt Practices Act (“FCPA”).        In Nigeria, in exchange

for the bribes, foreign officials caused the Nigerian state-owned

and state-controlled oil company to award oil contracts and to

provide more lucrative grades of oil on more favorable delivery

terms to Company 1, two wholly-owned subsidiaries of Company 1

(“Subsidiary 1,” “Subsidiary 2,” and, collectively, the “Company
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1 Subsidiaries”), and their business partners.          After joining the

bribery scheme, which had been initiated by other employees of the

Company 1 Subsidiaries, STIMLER, while acting within the scope of

his employment as an employee of Subsidiary 2 and acting on behalf

of Company 1, with the intent, at least in part, to benefit Company

1 and the Company 1 Subsidiaries, conspired with others to make

millions of U.S. dollars in corrupt bribe payments to foreign

officials in Nigeria, and elsewhere, to obtain and retain business

for,   and   to   direct   business   to,   Company   1,   the   Company   1

Subsidiaries, and others.       In furtherance of, and to promote the

corrupt bribery scheme, STIMLER and others conspired to transmit

the bribe payments from Switzerland to and through the United

States, and from the United States to foreign countries.

                    Relevant Individuals and Entities

       2.    At all times relevant to this Information, the Nigerian

National Petroleum Corporation (“NNPC”) was a Nigerian state-owned

and state-controlled oil company headquartered in Abuja, Nigeria.

The Nigerian government directly owned and controlled NNPC, which

performed government functions.        NNPC was an “instrumentality” of

a foreign government, as that term is used in the FCPA, Title 15,

United States Code, Section 78dd-3(f)(2)(A), and employees of NNPC

were “foreign official[s],” as that term is defined in the FCPA,

Title 15, United States Code, Section 78dd-3(f)(2)(A).




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       3.   At all times relevant to this Information, Company 1 was

a   commodity    trading      and   mining       company     headquartered   in

Switzerland with operations and subsidiaries in various locations

around the world, including the United States, United Kingdom,

Africa, and South America.

       4.   At all times relevant to this Information, the Company

1 Subsidiaries were wholly-owned subsidiaries of Company 1.                  The

Company 1 Subsidiaries, located in London, United Kingdom, served

as Company 1’s head offices for oil and gas trading.                Subsidiary

1 was a direct subsidiary of Company 1 and the direct owner of

Subsidiary 2.     Between at least in or around 2007 and at least in

or around 2014, Company 1 entered into multiple contracts to

purchase crude oil from NNPC and designated Subsidiary 1, via a

services agreement, to administer the contracts.                  Employees of

both   Subsidiary   1   and   Subsidiary     2   in   fact   administered    the

contracts.

       5.    ANTHONY STIMLER, the defendant, a United Kingdom citizen

and resident, was a trader at Subsidiary 2.            STIMLER worked on the

West Africa desk from in or around 2002 until in or around 2009

and then again from in or around June 2011 until in or around

August 2019.     In that role, STIMLER had responsibility for crude

oil purchases from, among other places, Nigeria, and acted on

behalf of Company 1 in procuring crude oil from Nigeria.




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     6.   At all times relevant to this Information, “Intermediary

Company 1” was a Nigerian company used by Company 1 and the Company

1 Subsidiaries to pay bribes to Nigerian officials in order to

obtain Nigeria oil cargoes from NNPC. Intermediary Company 1

contracted directly with Company 1 from in or around 2007 until in

or around 2011, and with Subsidiary 2 from in or around 2011 until

in or around 2014.

     7.   At all times relevant to this Information, “Intermediary

Company 2” was a Cyprus-incorporated entity used by the Company 1

Subsidiaries to pay bribes to Nigerian officials in order to obtain

Nigeria oil cargoes from NNPC.         Intermediary Company 2 had an

affiliated company incorporated in the British Virgin Islands

which used the same name as the Cypriot company.

     8.   At   all   times   relevant    to   this   Information,     “Co-

Conspirator 1” was a Nigerian and U.K. citizen and a resident of

Nigeria and the United Kingdom, and was the owner and principal

employee of Intermediary Company 1.

     9.   At   all   times   relevant    to   this   Information,     “Co-

Conspirator 2” was a United Kingdom citizen and resident, a trader

at Subsidiary 2 from in or around March 1993 until in or around

December 2009, and a consultant for Subsidiary 2 from in or around

January 2010 until in or around December 2012 and again from in or

around April 2015 until in or around March 2017, who acted on

behalf of Company 1 in procuring crude oil from Nigeria.


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     10.   At    all   times     relevant        to     this    Information,      “Co-

Conspirator 3” was a United Kingdom citizen and resident, and a

trader at Subsidiary 2 from in or around July 2011 until in or

around August 2019 who acted on behalf of Company 1 in procuring

crude oil from Nigeria.

     11.   At    all   times     relevant        to     this    Information,      “Co-

Conspirator 4” was a citizen of Mexico and Spain, and a trader at

Subsidiary 2 from in or around July 2009 until in or around October

2012 who acted on behalf of Company 1 in procuring crude oil from

Nigeria.

     12.   At    all   times     relevant        to     this    Information,      “Co-

Conspirator 5” was a United Kingdom citizen and resident, a risk

manager at Subsidiary 1 starting in or around April 2009, and,

since in or around 2013, a trader at Subsidiary 2 who acted on

behalf of Company 1 in procuring crude oil from Nigeria.

     13.   At    all   times     relevant        to     this    Information,      “Co-

Conspirator 6” was a French citizen and resident, and was employed

by the British Virgin Islands affiliate of Intermediary Company 2.

     14.   At    all   times     relevant        to     this    Information,      “Co-

Conspirator     7”   was   an   Israeli       citizen     and   resident,   and   was

employed by Intermediary Company 2.

     15.    “Foreign       Official   1”       was    a   high-ranking      Nigerian

government official from in or around 2010 until in or around 2015.

Foreign Official 1 was a “foreign official,” as that term is


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defined in the FCPA, Title 15, United States Code, Section 78dd-

3(f)(2)(A).

                 Manner and Means of the Conspiracy

     16.   The manner and means by which ANTHONY STIMLER, the

defendant, and his co-conspirators sought to accomplish the

purpose of the conspiracy included, among others, using and

paying inflated and fraudulent invoices submitted to Company 1

and the Company 1 Subsidiaries by intermediaries to disguise the

nature and purpose of bribe payments made to government

officials, which payments were made in order to obtain and

retain business and to obtain business advantages for Company 1,

the Company 1 Subsidiaries, and others.

                        Statutory Allegations

     17.   From at least in or around 2007 up to and including in

or around 2018, in the Southern District of New York and elsewhere,

ANTHONY STIMLER, the defendant, and others known and unknown,

willfully and knowingly did combine, conspire, confederate, and

agree together and with each other to commit offenses against the

United States, to wit, to violate the FCPA, Title 15, United States

Code, Section 78dd-3.

     18.   It was a part and an object of the conspiracy that

ANTHONY STIMLER, the defendant, and others known and unknown, would

and did, while in the territory of the United States, willfully

and corruptly make use of the mails and a means and instrumentality


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of interstate commerce and do an act in furtherance of an offer,

payment, promise to pay, and authorization of the payment of money,

and offer, gift, promise to give, and authorize the giving of a

thing of value to a foreign official, and to a person, while knowing

that all and a portion of such money and thing of value would be

and had been offered, given, and promised, directly and indirectly,

to a foreign official, for purposes of: (A)(i) influencing an act

and decision of such foreign official in that foreign official’s

official capacity; (ii) inducing such foreign official to do and

omit to do an act in violation of the lawful duty of such foreign

official;   and   (iii) securing       an   improper    advantage;    and

(B) inducing such foreign official to use that foreign official’s

influence with a foreign government and instrumentality thereof to

affect and influence an act and decision of such government and

instrumentality, in order to assist in obtaining and retaining

business for and with, and directing business to, a person, in

violation of Title 15, United States Code, Section 78dd-3, to wit,

STIMLER and others agreed to pay and offer money and other things

of value to foreign officials in Nigeria, and elsewhere, to assist

STIMLER and others in obtaining and retaining business for, and

directing business to, Company 1, the Company 1 Subsidiaries, and

others.




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                                        Overt Acts

       19.   In furtherance of the conspiracy and to effect the

illegal object thereof, the following overt acts, among others,

were committed in the Southern District of New York and elsewhere:

                     a.     At least in or around 2009, Co-Conspirator 2

used   coded       language,     including       references    to    “newspapers”      in

discussing bribe payments to foreign officials in Nigeria and

elsewhere.

                     b.     On or around February 9, 2012, Co-Conspirator

1 sent a series of emails to ANTHONY STIMLER, the defendant, Co-

Conspirator 3, and Co-Conspirator 4, discussing the need for a

“filing,”      a    coded     reference     to    a   bribe    payment      to   foreign

officials.

                     c.     In or around December 2013, STIMLER agreed

with Co-Conspirator 3, Co-Conspirator 5, and Co-Conspirator 1 to

more than triple the fees paid to Intermediary Company 1 for

certain transactions for the purpose of paying bribes to an NNPC

official in order to obtain favorable dates and grades of oil.

                     d.     In    or    around    March    2014,    STIMLER      and   Co-

Conspirator 3 requested and received approval for Subsidiary 2 to

make a $500,000 payment to Intermediary Company 1, intending for

Co-Conspirator 1 to pass on a portion of the payment to a foreign

official     in     Nigeria      to    assist    Company   1   and    the    Company    1




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Subsidiaries    in     obtaining       business    advantages,      including

eligibility to purchase oil cargoes from the NNPC.

                 e.        On or about September 25, 2014, Co-Conspirator

6 sent an email to STIMLER advising that Foreign Official 1 had

stated that “all the customers of NNPC are giving in advance

[$300,000] each month/cargo plus a certain amount which varies at

the moment” in connection with a then-upcoming political election.

                 f.        On or about October 3, 2014, in response to

the information communicated by Co-Conspirator 6, STIMLER caused

Subsidiary 2 to send a wire transfer of approximately $300,000

(the “Payment”) from Subsidiary 2’s bank account in Switzerland,

through   a   bank    in     the   Southern   District   of   New   York,   to

Intermediary Company 2’s bank account in Cyprus.

                 g.        On or about October 5, 2014, STIMLER sent an

email to Co-Conspirator 6 and Co-Conspirator 7 in which STIMLER

stated, in substance and in part, that Subsidiary 2’s management

had approved the Payment and wrote, “[S]o please please make sure

on your side, NNPC perform[s] . . . .”

                 h.        On or about April 20, 2015, while in the United

States, STIMLER received an email in which Co-Conspirator 6 offered

to pay a bribe to a Nigerian official of approximately $50,000 per

oil cargo for four cargoes of NNPC oil to be delivered in May and

June 2015.




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                i.      On or about April 20, 2015, while in the United

States, STIMLER replied to Co-Conspirator 6’s email, expressing

interest in one of the June 2015 NNPC oil cargoes.

                j.      On or about May 5, 2015, STIMLER received an

invoice from Intermediary Company 2 for $50,000 as an “Advance

Payment” against the June cargo discussed supra in paragraphs (h)

and (i).

                k.      On       or   about   May   5,   2015,    STIMLER   caused

Subsidiary 2 to pay Intermediary Company 2’s invoice through a

wire transfer of approximately $50,000 from Subsidiary 2’s bank

account in Switzerland, through a bank in the Southern District of

New York, to Intermediary Company 2’s bank account in Cyprus.

           (Title 18, United States Code, Section 371.)


                             COUNT TWO
              (Conspiracy to Commit Money Laundering)

     The United States Attorney further charges:


     20.   Paragraphs        1    through     16    of   this    Information   are

realleged and incorporated by reference as if fully set forth

herein.

     21.   From at least in or around 2007 up to and including in

or around 2018, in the Southern District of New York and elsewhere,

ANTHONY STIMLER, the defendant, and others known and unknown,

willfully and knowingly did combine, conspire, confederate, and

agree together and with each other to commit money laundering, in

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violation of Title 18, United States Code, Section 1956(a)(2)(A).

It was a part and an object of the conspiracy that ANTHONY STIMLER,

the   defendant,   and     others   known    and      unknown,    would    and     did

knowingly     transport,    transmit,      and   transfer,       and    attempt     to

transport, transmit, and transfer, a monetary instrument and funds

from a place in the United States to and through a place outside

the United States, and to a place in the United States from and

through a place outside the United States, with the intent to

promote the carrying on of specified unlawful activity, to wit,

(a) a felony violation of the Foreign Corrupt Practices Act, Title

15, United States Code, Section 78dd-3, and (b) offenses against

a   foreign   nation   involving    bribery      of    a   public      official,    in

violation of Nigerian law, as defined in Title 18, United States

Code, Section 1956(c)(7)(B)(iv), in violation of Title 18, United

States Code, Section 1956(a)(2)(A), to wit, STIMLER agreed to

transmit and caused to be transmitted funds from Switzerland to

and through the United States, and from the United States to

foreign countries, in furtherance of a scheme to pay and offer

money and other things of value to foreign officials in Nigeria,

and elsewhere, in order to obtain and retain business for, and to

direct business to, Company 1, the Company 1 Subsidiaries, and

others.

          (Title 18, United States Code, Section 1956(h).)




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                        FORFEITURE ALLEGATIONS

     22.   As a result of committing the offense alleged in Count

One of this Information, ANTHONY STIMLER, the defendant, shall

forfeit to the United States pursuant to Title 18, United States

Code, Section 981(a)(1)(C) and Title 28, United States Code,

Section 2461(c), any and all property, real and personal, which

constitutes or is derived from proceeds traceable to the

commission of said offense, including but not limited to a sum

of money in United States currency representing the amount of

proceeds traceable to the commission of said offense.

     23.   As a result of committing the money laundering offense

alleged in Count Two of this Information, ANTHONY STIMLER, the

defendant, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 982(a)(1), any and all property,

real and personal, involved in said offense, or any property

traceable to such property, including but not limited to a sum of

money in United States currency representing the amount of property

involved in said offense.

                      Substitute Asset Provision

     24.   If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

                (a)   cannot be located upon the exercise of due

diligence;



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                 (b) has been transferred or sold to, or deposited

with, a third party;

                 (c) has been placed beyond the jurisdiction of the

court;

                 (d) has been substantially diminished in value; or

                 (e) has been commingled with other property which

cannot be divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code, Section 853(p), and Title 28, United States Code,

Section 2461(c), to seek forfeiture of any other property of the

defendant up to the value of the forfeitable property described in

this forfeiture allegation.

         (Title 18, United States Code, Sections 981 and 982;
            Title 21, United States Code, Sections 853; and
             Title 28, United States Code, Section 2461.)


Pc&frie:d                                          /pqm.
DANIEL S. KAHN                       ILAN T. GRAF
Acting Chief, Fraud Section          Deputy United States Attorney
Criminal Division                    for the Southern District of
United States Department             New York
of Justice


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DEBORAH CONNOR
Chief, Money Laundering and
Asset Recovery Section
Criminal Division
United States Department
of Justice




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              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                              - v. -

                     ANTHONY STIMLER,

                                       Defendant.



                            INFORMATION

                     21 Cr. ___ (___)

        (15 U.S.C. § 78dd-3, 18 U.S.C. §§ 371,
              1956(a)(2)(A), and 1956(h))



                                    ILAN T. GRAFF
                    Deputy United States Attorney


                                    DANIEL S. KAHN
                       Acting Chief, Fraud Section
                                 Criminal Division
                        U.S. Department of Justice


                                    DEBORAH CONNOR
                       Chief, Money Laundering and
                            Asset Recovery Section
                                 Criminal Division
                        U.S. Department of Justice




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